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NUKI'HE§N DIS'I`RICI' OF ILLINOIS, EASTERN DIVISION M|CH';EL‘;/ZV ZOBB€)NS
mg LIPPERT’ ) CLERK, U. S. D|STR|CT COURT
Plaintiff, )
v. )
PARTHA GHOSH M D -wll.lARD EJ.YFA- ) 10 C 4603 -
JOSEPH SS ' ‘;T;M GARCIA; ’ ) Judge Ruben Castl||o
TERRY _UDDY FORD and ) |V|aglstrate Judge |V|orton Den|ow
HC'CANN| !
ROGER WALKER Jr. )
Defendants. )
CUMPLAIHT
Plaintiff DON LIPPERT, by pro se, complains against Defendants as follows:
INTRDDUCTION

l. In this civil rights action, Plaintiff seeks damages and injunction
relief for Defendants' deliberate indifference to Plaintiff'S medical needs,
in violation of the Eighth Amendment. Plaintiff suffers from Type 1 Diabetes.
Defendants-the medical director and chief administratvie officer at the state
facility at which Plaintiff is incarcerated and certain medical officials, and
certain Stateville officials and certine Department of Corrections (IDOC)
officials working in Plaintiff‘s prision or working for lBOC-have on numerous
and continuous occasions denied Plaintiff access to adequate medical care, and
knowingly disregarded excessive risks to Plaintiff's health by, among other
things,(a) refusing to provide Plaintiff with a routine, healthy, nutritional,
and wholesome diet to help treat and manage his chronic Type 1 Diabetes medical
condition. This failure, and Defendants‘ actions, were indifferent and contrary
to medical policy at Stateville, sound medical and dietary principles for
treating Type 1 Diabetes, and Plaintiff's treatment plan. Defendant Ghosh the
medical director at Stateville who was responsible for Plaintiff's treatment
plan, knew of and failed to take steps to adress the inadequate medical/dietary
care, to comply with proper medical procedures, medical policy, and Plaintiff'
treatment plan. Defendant Willard Elyea, the Agency Medical Director for the
Department of Corrections, had knowleged of and consented to the inadequate
medical/dietary care provided to Plaintiff. As a result of Defendant's actions

 

 

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Defendants' actions and failures to act, Plaintiff suffered and still suffers

serious harm / injuries.

JURISDICTTON, VENUE, and EXHAUSTDJ§ of REHEDIES :

2. This action is brought pursuant to 42 U.S.C.§ 1983. This Court has
jurisdiction pursuant to 28 U.S.C.§ 1331. On belief, more than one Defendant
resides in this judicial district, and all the Defendants reside in Illinios.
Moreover, a substantial part of the events or omissions giving rise to the

claim occurred in this judicial district. Accordingly, venue is proper under
42 U.S.C.§ 1391 (b) (l) and (2).

3. Prior to filing this Complaint, Plaintiff had exhausted any necessary

administrative grievance procedures and administrative remedies.

PARTIES

4. Plaintiff Don Lippert is and has at all relevant times been a citizen
of the United States. He is and was at all relevant times an inmate at State-
ville Correction Center (Stateville) in Joliet, Illinios. On April 20, 2008,
Plaintiff was housed at Stateville Correctional Center.

5. On information and belief, Defendant Dr. Partha Ghosh is a contractor
for, Stateville. Defendant Ghosh was at all relevant times the medical dire-
ctor at Stateville. At all relevant times, he acted under color of state law,
as a state official acting on behalf of the state. Dr. Ghosh was the medical
professional responsible for Plaintiff's medical treatment and care at State-
ville.

6. On information and belief, Defendant Willard Elyea is a physician lic-
ensed to practice in lllinois. Defendant Elyea is either an employee of, or
a contractor for, IDOC. Defendant Elyea was at all relevant times the Agency
Medical Director for IDOC. At all relevant times, he acted under color of
state law, as a state official acting on behalf of the state. Dr. Elyea was
the IDOC medical professional responsible for Plaintiff's medical treatment
and care while in IDOC.

7. 0n information and belief, Defendant Joseph Ssenfuma is a nurse lic-
ensed to practice in lllinois. Defendant Ssenfuma is a contractor for,
Stateville. Defendant Ssenfuma was at all relevant times a registered nurse
at Stateville. At all relevant times, he acted under color of state law, as
a state official acting on behalf of the state. On the days of April 20, 2008,

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and May 19, 2008, he was the RN Supervisor at Stateville were Plaintiff is
incarcerated at.

8. Defendant Tammy Garcia was at all relevant times employed at Stateville
as the prision 'Grievance Officer' of inmate issues. At all relevant times,
she acted under color of state law, as a state official acting on behalf of
the state. Garcia was responsible as a 'G.O.' to investigate complaints in
grievances filed by inmates and make recommendations to the Warden based on
his/her findings. Furthermore, upon receipt of a grievance, the Grievance
Officer (G.G.) will assemble any other information, interview the grievant,
if necessary, and make recommendations to the IDOC Director. 0n the day of
June 6, 2008, she was responsible for the inmate issues being grieved were
Plaintiff is incarcerated at.

9. Defendant Terry McCann was at all relevant times employed at Stateville
as the 'Chief Administrative Officer'. At all relevant times, he acted under
color of state law, as a state official acting on behalf of the state. McCann
is responsible for the overall operations of the facility, the supervision,
and protection of offenders assigned to his lnstitution, the supervision of
it's staff members, and ultimately for overseeing both program and operational
services of the facility, as well as ensuring compliance with all Departmental
Directives and Rules. He is to advise the comitted person of the grievance
disposition, in writing, within two (Z) months or as resonable amount of time
after receipt of the written grievance. On June lS, 2008, he was the warden at
Stateville were Plaintiff is incarcerated at.

10. Defendant Melody Ford was at all relevant times employed by the lDOC as
the Administrative Review Board member of lnmate Issues. At all relevant times
she acted under color of state law, as a state official acting on behalf of -
the state. Ford was directly responsible for the reviews the appeals of grieve
ances and first determines whether the inmate's grievance can be handled with-
out the necessity of a hearing. lf so, the inmate is so advised. Other matters
are scheduled for a two-person 'A.R.B.' hearing involving an interview of the
grieving inmate, examining relevant documents and at the A.R.B.'s discretion,
calling witnesses. The A.R.B. submits a written report of its findings and
recommendations to the Director or the Director's designee, who then reviews
the report and makes a final determination on the grievances. On the day of
§§liq¢.j¥lii, 2008, she was directly responsible for the reviews of my griev-
ance appeal to the Director.

ll. Defendant Roger Walker Jr. was at all relevant times employed by the
illinois Department of Corrections (lDOC) as the Director. At all relevant if

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times, he acted under color of state law, as a state official acting on behalf
of the State. Walker was directly resposible for reviewing inmate grievances
of persons' committed to IDOC, the responses of the Grievance Officers, and
Chief Administrative Officers in connection with these grievances, while mak-
ing determinations of whether these grievances require a hearing before the
A.R.B., if so then advising the committed persons of these disposititions in
writing. On the day of December 8, 2008, he was directly responsible for the
functioning of all of IDOC Prisons as the chief overseer. Defendant Walker had
knowledge of Plaintiff's inadequate medical care through, among other things,
the grievance filed by Plaintiff, and he consented to that inadequate care.

12. At all relevant times, Defendants acted in their individual and official
capacities in their positions as medical director,agency medical director,
IDOC director, registered nurse supervisor,grievance officer, administrative
review board member for Stateville and IDOC.

13. As of and prior to April 20, 2008, Plaintiff required a routine and
healthy diet& frequent visits to medical specialists in Nutrition of two (2)
times a year or as needed for the purpose of treating and managing the medical
complications and providing other medical care as needed, necessary to keep
Plaintiff healthy and safe from serious injury to control his Type 1 Diabetes
condition.

EETENDANTS“FRILURE TD PRDVIDE ADEQUAIE AND
NECESSARY MEDICAL CARE
14. Plaintiff has been diagnosed with Type l Diabetes. At all relevant
times hereto each of the Defendants' knew of and were aware of Plaintiff's
serious medical condition.

15. Prior to April 20, 2008, Defendant Ghosh had prescribed treatment for
Plaintiff's diabetes, including but not limited to a routine and healthy diet
under American Diabetes Association (ADA) Standards, and providing other med-
ical care as needed.

16. A routine and healthy diet under ADA Standards were critical to Plain-
tiff's safety and health. as an incarcerated prisoner, Plaintiff was dependent
on the Defendant to provide him with a routine and healthy diet to keep him
healthy and safe from serious harm/injury.

17. On February 18, 2005, Defendant Ghosh,M.D. had sent me a MEMD/letter

stating that,'Effectiv immediately, the diet used to treat diabetes will be
§:?Low Concentrated Sweets" or LCS Diet. Calorie controlled diets (1800cal,

__/_;s _','

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2500cal, ZSOOcal,ect.) will no longer be used. The LCS diet restricts concert-
rated sweets suchas sugar, candy, honey, jelly, jam, syrup, pies, cakes, pud-
dings and sweetened soft drinks, ect.'.

18. After I had received thigMEMD/Letter I had complained verbally to Dr.
Ghosh, and other medical officials of how l'm still being served and forced
to eat the same exact foods/meals plus deserts that are being served to the
entire prison population for their meals.

19. After verbally stressing my MEDICAL DIETARY concerns to Dr. Ghosh, no
medical official acted to take corrective measures to place an end to the
heinous medical mistreatment.

20. As a result of Defendant actions and failures to act, Plaintiff suffered
and still suffers injuries of Diabetic Neuropathy, severe headaches, weight
lost, pooer eye vision, severe fluctuating blood sugar levels, and pain/numb-
ness in hands, feet, and legs.

21. On May 19, 2008, Defendant Ssenfuma had knowledge of Plaintiff's inadeqo
uate medical care/treatment through, among other things, the inmate greivance
that Plaintiff filed on 'MEDICAL TREAIMENT' dated: April 20, 2008, which he
had received on April 21, 2008, and wrote his medical'RESPONSE' on May 19, 2005:
stating in brief, " l strongly believe offender Lippert diet is very appropria+e
for his medical condition we have not had any problems with other diabetic
patients", and consented to that inadequate medical care/treatment, giving
rise to the Claim against him.

22. Defendant Ssenfuma denied Plaintiff's access to adequate medical care/
treatment, and knowingly disregarded excessive risks to Plaintiff's health and
well-being by, among other things, (a) refusing to take corrective action
measures,(b) refusing to provide Plaintiff with a routine and healthy diet,

(c) allowing and condoning the actions of the medical department to provide
inadequate medical care/treatment for my dietary needs,(d) knowingly and
deliberately making false statements and reports to cover up the gross miscon-
duct of the medical departments failure to enforce the American Diabetes Assoc~
iation (ADA) Nutritional Guidelines for Diabetics.

23. All of these failures, and Defendants actions, were contrary to sound
medical care for treating and managing Plaintiff's chronic medical condition.

24. Defendant Ssenfuma acted at all relevant times with evil motive or in-
tent, or recklessly or with callous indifference to Plaintiff's constitutional
rights.

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25. As a result of Defendant actions and failures to act, Plaintiff suffered
and still suffers injuries of Diabetic Neuropathy, severe headaches, weight lo%ir
pooer eye vision, severe fluctuating blood sugar levels, and pain/numbness in
hands, feet, and legs.

26. ON April 22, 2008, Defendant Garcia had knowledge of Plaintiff's inade-
quate medical care/treatment when she had received my ‘MEDICAL TREATMENT' grie~
vance; On June 5, 2008, she had received RN Supervisor, Joseph Ssenfumas' 'MED#
lCAL RESPONSE', and on June 6, 2008, she arbitrarily denied my grievance stat-
ing, " This Grievane Officer has no medical expertise or authority to contradici
the doctor's recommendations/diagnosis", and consented to that inadequate med-
care/treatment, giving rise to the Claim against her.

27. Defend Garcia denied Plaintiff's acess to adequate medical care/treatmen+
and knowingly disregarded excessive risks to Plaintiff's health and well-being
by, among other things,(a) refusing to take appropriate corrective action mea-
sures,(b) knowingly and deliberately refusing to use sound decision making by
not trying to obtain relevant medical/dietary treatment documents on Nutrition
Guidelines on hohlto treat/manage Type 1 Diabetes, or even to investigate/
inquire with an outside indepedent Nutritionist for relevant medical infor-
mation about the grieved matter for her final conclusion,(c) allowing and
condoning the actions of the medical department to provide inadequate medical
care/treatment,(d) knowingly and deliberately alowing the gross misconduct of
the medical departments failure to enforce the American Diabetes Associations
(ADA) Nutritional Guidelines for Diabetes.

28. All of these failures, and Defendants actions, were contrary to sound
medical care for treating and managing Plaintiff's chronic medical condition.

2§= Defendant Garcia acted at all relevant times with evil motive or intent,
or recklessly or with callous indifference to Plaintiff's constitutional right§,

30. As a result of Defendant actions and failure to act, Plaintiff suffered
and still suffers injuries of Diabetic Neuropathy, severe headaches, weight
lost, pooer eye vision, severe fluctuating blood sugar levels, and pain/numb-
ness in hands, feet, and legs.

31. On June 18, 2008, Defendant McCann, had knowledge of Plaintiff's inade-
quate medical care/treatment when he had received my 'MEDICAL TREATMENT'
greivance dated April 20, 2008; 0n June 18, 2008, he arbitrarily denied my
greivance concuring with the medical department and the Greivance Officers
deliberate indifferrnce towards my heal}h, giving rise to the Claim against
him.

32. Defendant McCann denied Plaintiff access to adequate medical care/

 

 

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treatment and knowingly disregarded excessive risks to Plaintiff's health and
well-being by, among other things,(a) refusing to take corrective action meas-
ures,(b) knowingly and deliberately refusing to use sound decision making by
not trying to obtain relevant medical/dietary treatment documents on Nutrition
Guidelines on how to treat/manage Type 1 Diabetes, or even to investigate/in-
quire with an outside independent Nutritionist for relevant medical information
about the greived matter for his final ‘RESPONSE' ,(c) allowing and condoning
the actions of the medical department to provide inadequate medical care/trea-
tment,(d) knowingly and deliberately allowing the gross misconduct of the med-
ical departments failure to enforce the American Diabetes Associations (ADA)
§utritional Guidelines for Diabetes.

33. All of these failures, and Defendant actions, were contrary to sound
medical care for treating and managing Plaintiff's chronic medical condition.

34. Defendant McCann acted at all relevant times with evil motive or intent,
or recklessly or with callous indifference to Plaintiff's constitutional rightS.

35. As a result of Defendant actions and failure to act, Plaintiff suffered
and still suffers injuries of Diabetic Nueropathy, severe headaches, weight
lost, pooer eye vision, severe fluctuating blood sugar levels, and pain/numb-
ness in hands, feet, and legs.

36. On July 14, 2008, Defendant Ford, had knowledge of Plaintiff's inadequa+e
medical care/treatment when she had received my 'MEDICAL TREAIMENT' greivance;
On July 14, 2008, or on November 17, 2008, she arbitrarily denided my greivance
stating in brief," Based on a total review of all available information, it is
the opinion of this office that the issue was appropriately addressed by the
institutional administration. lt is, therefore, recommended the greivance
denie .". and consentec to that inadequate medical care/treatment, giving rise
to the Claim against her.

37. Defendant Ford denied Plaintiff's access to adequate medical care/treat-
ment and knowingly disregarded excessive risks to Plaintiff's health and well-
being bYs among Oth€r thiDgS,(a) refusing to take corrective action measures,
(b) knowingly and deliberately refusing to use sound fact finding decision
making by not trying to obtain relevant medical/dietary treatment documents on
Nutrition Guidelines on how to treat/manage Type 1 Diabetes, or even to invest-
igate/inquire with an outside independent Nutritionist for relevant medical
information about the greived matter for her final'RESPONSE',(c) allowing and

COHdODng the actions of the medical department to provide inadequate medical
care/treatment,(d) knowingly and deliberately allowing the gross misconduct of
the medical departments failure to enforce the American Diabetes essociations

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(ADA) Nutritional Guidelines for Diabetes.

38. All of these failures, and Defendant actions, were contrary to sound
medical care for treating and managing Plaintiff's chronic medical condition.

39. Defendant Ford acted at all relevant times with evil motive or intent,
or recklessly or with callous indifference to Plaintiff's constitutional right$#

4@- As a result of Defendant actions and failure to act, Plaintiff suffered
and still suffers injuries of Diabetic Nueropathy, severe headaches, weight
loss, pooer eye vision, severe fluctuating blood sugar levels, and pain/numb-
ness in hands, feet, and legs.

¢l. On December 8, 2008, Defendant Walker, had knowledge of Flaintiff's in-
adequate medical care/treatment when he had received my 'MEDICAL TREAIMENT'
grievance; On December 8, 2008, he arbitrarily denied my grievance by 'GON-
CRRING' with the Administrative Review Board deliberate indifference towards
my health, giving rise to the Claim against him.

42. Defendant Walker denided Plaintiff's access to adequate medical care/
treatment and knowingly disregarded excessive risks to Plaintiff's health and
well-being by, among other things,(a) refusing to take corrective action
measures,(b) allowing and condoning the actions of the medical department,
grievance officer, chief administrative officer and administrative review
board to provide inadequate medical care/treatment,(c) knowingly and deliber-
ately refusing to use sound fact finding decision making by not trying to
obtain relevant medical/dietary treatment documents on Nutrition Guidelines on
how to treat/manage Type 1 Diabetes, or even to inquire with an outside inde»
pendent Nutritionist for relevant medical information about the grieved matter
for his final'DEClSION',(d) knowingly and deliberately allowing the gross
misconduct of the medical departments failure to enforce the American Diabetes
Associations (ADA) Nutritional Guidelines for Diabetes.

43. All of these failures, and Defendant actions, were contrary to sound
medical care for treating and managing Plaintiff's chronic medical condition.

44. Defendant Walker acted at all relevant times with evil motive or intent,
or recklessly or with callous indifference to Plaintiff's constitutional right

45. As a result of Defendant actions and failure to act, Plaintiff suffered
and still suffers injuries of Diabetic Nueropathy, severe headaches, weight
loss, pooer eye vision, severe fluctuating blood sugar levels, and pain/numb-
ness in hands, feet, and legs.

 

 

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46. April 20, 2008,' was not the first time Defendants had displayed delib-
erate indifference to Plaintiff's serious medical condition. On numerous occa-
-sions prior to April 20, 2008,-Defendants had failed to provide Plaintiff with
the treatment that was necessary and part of his treatment plan for his "'£ype 1

lDiabetes. Among other things, Plaintiff had on numerous occasions not received

his ZBOOcal. ADA DIABETIC DIET. Defendants Elyea, Ghosh, and Ssenfuma were awe
are of this systematic inadequate diet and repeated failures to follow Plaint-
iff's treatment plan, and they failed to take steps to ensure that that treat-
ment plan was properly carried out and that Plaintiff was provided with a rou-r
fine and healthy diet.
GDUNT 1
DH`H€DANI‘S M¢:CANN, GARCIA, FORD, m

47. Plaintiff realleges and incorporates herein by reference the allegations

contained in paragraphs 1-46 for this paragraph 47 of Count 1.

48. Defendants McCann, Garcia, Ford, and Walker were deliberately::indi£feren+
to Plaintiff‘ s serious medical/dietary needs.

49. Plaintiff's medical condition was objectively serious.

50. Defendants McCann, Garcia, Ford, and Walker 1were aware of and disregard@d
an excessive risk to Plaintiff' s health. _

51. Defendants acted with evil motive or intent, or recklessly or with cal-
lous indifference to Plaintiff' s rights. 7

52. As a result of Defendants' deliberate indifference, Plaintiff suffered
and still suffers serious harm. c _

53`. ny their acticnc, sciencth subjected Plaintiff cr caused him tc bé
subjected to a deprivation of his rights, privileges , or immunities secured
by the Eighth Amendment to'the Gon_stitution, as made applicable to the states

through the Fourtee_nth Amendment to the Constitution. By their actions, Def-

craants viclctcd 42 u.s.c. § 1983.
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l DEFERHAM'S Gf-DSH, SSEI‘IF!M and ELYEA
54. mcintiff relucch and incorpcrctcc herein by reference no allega-
_ tions contained in paragraphs l-53 for this paragraph 54 of C.ount II.
55. Defendants Ghosh, Ssenfuma, and Elyea were aware of a systematic lapse
in enforcement of Plaintiff' s treatment plan, and Stateville' s and the Depart-

ment of Corrections' policies regarding medical care and treatment of prisoner$:;.
suchas Plaintiff, by, among other things, a failure to provide Plaintiff with

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a routine and healthy ADA Diet.

'56. Defendants Ghosh, Ssenfuma, and Elyea failed to ensure that the policies
of Stateville and the Department of Corrections and Plaintiff's treatment plans-
including but not limited to the dietary needs- were carried out§ and they fai-
led to ensure that Plaintiff was provided with a proper routine and healthy die+-

57. Defendants Ghosh, Ssenflm\a, and Elyea's failure to ensure that the the
treatment plan and policies of Stateville"and the Department of Corrections -
were carried out alnourlted to deliberate indifference to Plaintiff's serious
medical ineeds'. _

58. Defendants Ghosh, Ssenfuma, and Elyea acted at all relevant times with
evil motive or intent, or recklessly or with callous indifference to Plaintiff‘$
rights.

5§. As a result of Defendants Ghosh, Ssenfuma and Elea's deliberate indiff-
erence, Plaintiff suffered end still suffers serioas bann.'

60. By their actions, Defendants Ghosh, Ssenfuma and Elyea subjected Plain- `
_ tiff or caused him to be subjected to a deprivation of his rights, privileges,
or Lmnunities secured by the Eighth Amendment to the Gonstitutlon, as made
applicable to the states through the Fourteenth Amendment to the Constitution.
ay their ections, Defendants violated 42 u.s.c. § 1933.

Wl-LEREFORE, Plaintiff prays for entry of judgment in his favor and awarding
the following relief against the Defendants: ' l

(1) A declaration judgment that the Defendants' actions, as described above,
constituted deliberate indifference, in violation of the Eighth Amendment to
the constitutien, as mds applicable to the states through the Fonrteentb .Anen~
dnent to the Constitution, and 42 U.S.C. § 1983;

(2) injmtive teiief, in the form of en order(i) enjoining end prohibiting
the individual Befendants and other current and future employees of Stateville
and Department of Corrections from further deprivations of Plaintiff’,s Cou-

_ stitutional rights;(ii) requiring that the Defendants provide him with-whole§
some and nutritional foods under the American Diabetes Association Reco¢mlended _
Standard Diet for the medical treatment and management of Plaintiff's 'Iype 1
biabstes;(iii) requiring that the beiendants povide Plaintiff to be seen by a
certifyed license nutritionist two (2) times a year as recommended linder the
ADA”Guidelines for Plaintiff's Type 1 Diabetes chronic _corriiotion;(iv) requir--
ing that the Defendants transfer Plaintiff to~a _State facility that that can

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provide proper and necessary adequate medacare/treament for his chronic medical
condition, such as Dixon Correctional Center.

(3) monetary compensation in the amount of $35,000 from Defendant Partha
Ghosh in his individual/official capacity,

(4) monetary compensation in the amount of $35,000 from Defendant Willard
Elyea in his individual/official capecity,

(5) monetary compensation in the amount of $25,000 from Defendant Terry
McCann in his individual/official capacity,

(6) monetary compensation in the amount of $A0,0GO from Defendant Joseph
Ssenfuma in his individual/official capacity,

(7) monetary compensation in the amount of $25,000 from Defendant Tammy
Garcia in her individual/official capacity,

(8) monetary compensation in the amount of $25,000 from Defendant Melody
Ford in her individual/official capacity,

(9) monetary compensation in the amount of $35,000 from Defendant Roger E.
Walker in his individual/official capacity;

(10) punitive damages;

(11) mental and emotional injury damages; and

(12) such.other relief as the Court deems just and proper.

Date: Respectfully submitted,

/s/ © 99§§; 2

DON LIPPERT- Plaintiff

 

Don Lippert
#B-?AO§A

P.O. Box 112
Joliet, Il. 6043&

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REsPoNsE 'ro coMMrr'rEo Psesou's cmsvm E

F n l Grievance Officer’s Report l

 

hate Recaived: Apri122, 2008 Date of Review: June 6, 2008 l Grievance # 0848

Commltted Person: Don Lippert |nmate #: BT¢lDEé

Nature of Grlevance: Medical Tx

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Facts Reviewed: Grievarlt alleges he.should be on a special diet because of his diabetes a
Rellef Requesled: dlabel:lc diet

Grievanoe wrltren: 4-20-08

Ssnt to HCU: 4-21-08

Medical response received: 6-5-08

. Per RN Supervisor. Joseph Ssenfuma: (summarized) According to lhe memo that Dr. Ghosh dated on 10-17-0?. in reference lo the
Agency N|edical Directorl Stateville Correctional C'.enter was giving a regular diet lhat was already low in cho|estero|, fal, and
concentrated carbohydrales as such il is already a therapeutic diet | strongly believe offender Lipperl diet is very appropriate for his
medical condition we have not had any problems with other diabetic patients

ll appears ll'lal this grievance issue has been resolved

This Grievance Officer has no medical expertise or similarity to contradict lhe doctors recommendation/diagnosis.

Recommendation: No further action necessary at this nme.

 

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5" ` Tammy Garcia l ¢"'__‘°_*-\ C}M<=t
i‘ Ffinl Gnevanoe Officers Name .__(§[§.Jaru:e O!f»cers Signalure

(Atlach a copy of Commlned Pmon’s Grievuncu, inciuding counselors response ll applicablo|

 

 

Chief Administrative Officer’s` Response l

Dale Received: O-"/ A?"O 52 %cgncur [:] l du not concur [:] Remand

\ Comments:

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L Committed Person’s Appeal To The Director l

 

l 3{“ SPDSB;JJW lh_a Chief Adminislrallve OfEcer's decision lo the Direclor. | understand ll'lis appeal must be suhmil?ed within 30 days after me date of the
Chlef Admlnisllaove Ooner‘s decision to the Administralive Re\n'ew Board F'.O. Box 19277. Sprlnglleld. lL 62754-9277. (Anath a complete copy oflhe
orlgit\sl grlevance, including the co salar‘s response ll appllcabl¢. and any pertinent documents.]

O(O/YW Win,do@@ engage 1 SD;EO%'

 

 

 

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iLi.mois Dauanmn or connections
OFFENDER'S GRIEVANCE

 

 

 

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NATURE OF GRIEVANCE:
l:i Personai Property I] Mail Handling l:I Resto¢ation oti'.`-iood Time L__[ Disability
El Stai‘|' Conduc:t 13 Dietary l Medioe| Tneatment I:I HlF'AA
[:] Transfer Deniai by Faoility 1:[ Transfer Deniai berrarisfer Coordlnator l:] Otl'lerimdtilr
|j Discip|inary Rep€irt.' i' '- l

Dahe or Rsport -: Fadtity where omqu
Nota: Protsctive Custody Denials may be grieved immediately via the local administration on the protective ci.istody status notitiaticn.

Comp|sts: Atnoh a copy of any pertinent document ¢sucti as s oisclptinuy Report. simude merit eti.-_) and send to:
counselor, unless the' issue involves discipline is deemed en omergonoy, or 'a subject to direct review by the Am'iitiisn~ativ¢ Review Boari:|_
Grle\rance Oflioer, only iftlie issue involves discipline st the present facility or issue riot resolved by counselor
Cl'iief Adminil‘t:ra|i'vo Oflioer. only il EMERGENCY grievance
Admiriistrattvs Revlmiv Bosn:l, only tlthe issue involves transfer denial by me Transter Eoordinator protective oi.istody, involuntary
administration ot psychotropic dnigs, issues from anomari'acility except personal property issues or issues not resolved by the Ehief
Admc`nistrati've Dtlioer

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'i`_'i I\JCheolc only if this is an EMERGENCY grievance due to a substantial risk ot' imminent personal injury or other serious or irreparable harm to seil.

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‘ L Counsslor's Response rif applicants l

Date § § _ §
Reoeived: f Z{ f 0 EI Senct directly to Grievanoe Dfl'ioer n Oulsioe jurisdiction ofthis facility Send to

Asrninistrative Revisw Board, F. 0. Box 1927'.!'

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|_ EMERGENCY RE\riEw |

 

Date

Recaived: l f ls this determined to be of an emergency natuie? l:l Yss; expedite emergency grievance

m No; an emergency is not substantiated
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in the non'nat manner.

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' Case: 1:1O-Cv-OA;1SO§ Document #: 1 Fi|%d: v®»?¥W‘_E@-!P dwle Page|D #: 14

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' Case: 1:10;Cv-04603 Document #: 1 Filed: 07/23/10 Page 15 of 19 PagelD #:15

MEMORANDUM

Date: May 19, 2008
. To: Grievance Off”ice
From: Joseph Ssenfuma

RN Su pervisor

__

Subject: Medica| Grievance for Lippert, Don B74054

The offender Lippert grievance on ADA diet, chart reviewed and
grievance investigated -
A_ccording to the memo that Dr. Ghosh dated on 10/17/07, in
reference to the Agency Medical Director. Statevi|ie Correction
center was giving a regular diet that was already low in
choiesterof, fat, and concentrated carbohydrates As such it is a
therapeutic diet.
The only special diets we have are as following:
1.) Denta| - soft pureed diet, people with no teeth.

' - ¢2.) Rend diet - people with end stage renal disease
3.) Vegan (l-iebrew diet (only after approval from chaplain).

l strongly believe offender Lippert diet is very appropriate for his
medical condition we have not had any problems with other
diabetic patients.

 

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' Case: 1:10-Cv-O4603 Document #: 1 Filed: 07/23/10 Page 16 of 19 PagelD #:16

 

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Department.cf Roger E. Walker Jr.
Correctlons_ stream

1301 Concordia Court l P.O. Box 1 9277 l Springfield lL 62794-9277 l Telephone: (217) 558-2200 lTDD: (800) 526-0844

November 17, 2008

Don Lippert
Fiegister No. 874054
Statevil|e Correctionel Center

Dear h.r. l_ippert:

This is in response to your grievance received on Ju|y 14, 2008, regarding medical treatment (reguests
special diet due to diabetes), which was alleged to have occurred at Stateville Correctiona| Center. This
office has determined the issue will be addressed without a formal hearing.

The Grievance Officer‘s report, 0848, and subsequent recommendation dated June 6, 2008 and approval by
the Chief Administrative Officer on June 18, 2008 have been reviewed

Based on a total review of all available infomi_ation, it is the opinion of this office that the issue was
appropriately addressed by the institutional administration lt is, therefore, recommended the grievance be

denied .
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Meiody J. Ford /
Administrative Review Board
Office. of inmate issues

 

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cc: Warden Terry McCann, Statevi|le Correctional Center
Don Lippert, Fiegister No. 574054

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Breakfast:
Fruit
Bread .
Meat
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Department of ` Rgger E_ W§{ker Jr_ ______
Correcnons ______ D_,¢ § _

Stateville Correctional Center! F. Ci. Box 1121 Joliet, IL 5£1434 f Teleohone: (815) 727- 3507 § "
TDD: (800) 526-0844 !§ t j

 

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FRoM: Dr. Parcha Ghssh, Mpyv Meaicai Director fé 9 " _

DATE; ' 2/13105 ij § t l
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sUsJ; Diabetic cia l _ ! ?` -.

Effecti_ve immediately, the diet used to treat diabetes will be a “I_.ow
Concentrated Sweet.s” or LCS Diet. Calorie controlled diets (1800 cal,
2500 cal, 2800 cal, etc.) will no longer be used. The LCS diet restricts
concentrated sweets such as sugar, candy, honey,_jelly, jam, syrup, pies,
cakes, puddings and sweetened soft drinks, etc. `

As a diabetic, it is important for you to eat a consistent amount of
carbohydrate at each meal while limiting your intake of sweets and sugar
containing foods. If you are overweight you should lose weight and focus
on portion sizes. Overeating will increase your blood sugar leveis.
Engaging m physical exercise at least four or more times per week is
recommended `

Cc: Mary Garbs, RN AHCUA _
Fiorence Trotta, RN, Director ofNurses
Jimmy Dominguez,‘Asst Warden of Programs _`
Alex Jones, Asst. Warden of Operations l ~ _'-' ' -'
Quenton Tanner, Food Supervisor '

  D<HH

 

 

 

` `Case: 1:10-Cv-O4603 Document #: 1 Filed: 07/23/10 Page 19 of 19 PagelD #:19

 

 

 

 

 

IN THE
UNITED sTATEs premier count
_ _ HQRMDISIELCI_U_ILLLBOIS,
DON' LIPPERT, - _ ' EASTERN DIVISION
_ § , )
Plaintie`, )
) Case No.
v. ) '
PARTHA Gl-lOSi-I,M.D., et al. §
Defendantt.s.
'PRooFrcERTtFIcATE oF sarach
TO: M:i.chael Dobbins, ` ` ` TO: '

 

U.S. DIS'I'RICT CLERK
PRISIONER CORRESPONDENCE

219 South Dearborn Street'.
Chicago,ll.. 6060¢-'1

 

 

 

 

 

PLEASE TAKs No'rics that on luna o'l 5 , 20 10 , 1 have placed the

documents listed below in the institutional mail at Stateville Correctional Center,

properly addressed to the parties listed above for mailing through the United States Postal
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Pursuant to 28 USC 1746, 18 USC 1621 or 735 ILCS 5!109,‘Idec1are, under penalty`of
perjuzy, that I am a named party in the above action, that I have read the above
documents, and that the information contained therein is true and correct to the best ofmy

knowledge

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NAME:
IDOC#: _e~wos
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_ Revised ian 2002

 

 

